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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITEI) STATES OF AMERICA,

Plaintiff,
VS. CR. NO. 04-20159
LAKEITH HAMPTON

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE CHANGE OF PLEA

 

This cause came on upon the motion of the Defendant to continue the change of plea hearing
set on May 3, 2005 at 1:30 p.rn. For good cause shown, the Court hereby grants the Defendant’s
motion and directs this matter to be placed on the next report docket. Further time is excluded under
the Speedy Trial Act.

IT IS SO ORDERED this 3Td day of May, 2005.

dba

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Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Michael Edwin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

William C. Anderson
ANDERSON LAW FIRM
142 North Third St.
Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

